Case 2:22-cv-14102-DMM Document 192 Entered on FLSD Docket 06/28/2022 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 22-14102-CV-MIDDLEBROOKS

   DONALDJ. TRUMP,

          Plaintiff,

   V.


   HILLARY R. CLINTON, et al. ,

          Defendants.
   - - - - - - - - - - - - - - - - - -I
                             ORDER REQillRING STATUS REPORT

          THIS CAUSE is before the Court sua sponte. The record does not contain executed

   summonses for Defendants James Corney, Peter Strzok, and Lisa Page. As such, I am unable to

   determine whether those Defendants have been served and, if so, on what date. Plaintiff is therefore

   directed to file a Status Report on or before July 1, 2022 informing the Court of the status of those

   Defendants. If Plaintiff files any executed summonses as proof of service, he must redact

   Defendants' addresses.

          SIGNED in Chambers in West Palm Beach, Florida on thi




                                                                 United States District Judge

   cc:    Counsel of Record




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